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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                      New Albany Division


RAYMOND J. BROCKSMITH,                                )
          Plaintiff,                                  )
                                                      )
        v.                                            ) Cause No. 4:17-cv-00164-TWP-DML
                                                      )
TRANS UNION, LLC,                                     )
          Defendant.                                  )


                                    ORDER OF DISMISSAL

        The parties, by counsel, have moved this court to dismiss this cause. The Court, being duly

informed and finding said Motion made for good cause, now GRANTS said Motion.

        IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED by this Court that

Plaintiff’s claims against Defendant are dismissed, with prejudice, each party to bear its own costs

and fees. This matter is now concluded in its entirety.

       Date: 11/8/2017

                                                     ________________________
                                                     Hon. Tanya Walton Pratt, Judge
                                                     United States District Court
                                                     Southern District of Indiana
Copies to counsel of
record electronically registered.
